Case: 4:11-cr-00127-JCH    Doc. #: 201     Filed: 07/27/11    Page: 1 of 16 PageID #:
                                         576


                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )
                                              )
             v.                               )     No. 4:11CR127 JCH
                                              )                  (FRB)
CUEVAS BAN’E COST, JR.,                       )
                                              )
                          Defendant.          )


                  MEMORANDUM, REPORT AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

             All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).     Defendant Cuevas Ban’e Cost, Jr. filed a Motion

to Suppress Statements and Evidence (Docket No. 118).                     Testimony

and evidence was heard on the motion.             A written transcript of the

hearing was prepared and filed with the Court (Docket No. 180).

From   the   testimony    and    evidence     adduced    at    the   hearing,    the

undersigned makes the following findings of fact and conclusions of

law.

                                Findings of Fact

             On March 17, 2011, at about 1:00 p.m., the Kirkwood,

Missouri Police Department received a telephoned citizen report of

persons engaged in suspicious activity.                 The person making the

report was the owner of Tom’s Service Center, an automobile service

station located at        the intersection of Washington Avenue and

Kirkwood Road in the City of Kirkwood.              The citizen reported that
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11   Page: 2 of 16 PageID #:
                                        577


two vehicles were parked on a bank facility parking lot across the

street from his service station.           People were going back and forth

between the cars.     At least one of the people from the cars had

crossed the street to his service station, used the restroom, and

then returned to the cars.        The citizen described the cars as a

blue Nissan Altima and a silver Dodge Challenger.

           Officer Larry Nilges of the Kirkwood, Missouri Police

Department was dispatched to investigate the citizen report. While

Officer Nilges was en route to the location, the police dispatcher

related that the citizen had reported that the vehicles had now

driven off of the bank parking lot.           The Nissan vehicle had driven

to the Kirkwood Service Center, a BP automobile service station,

located directly across Kirkwood Road from Tom’s Service Center.

The Dodge Challenger had driven to and parked on a Walgreens

parking lot located a short distance away on Kirkwood Road.                  A map

of the area with the location of the various businesses was marked

and admitted in evidence at the hearing as Government’s Exhibit 3.

           Upon arriving in the area, Officer Nilges saw the blue

Nissan Altima parked on the BP service station lot.                He pulled his

police car onto the BP lot and parked about thirty feet to the rear

of the Nissan auto.       Officer Nilges was wearing a police uniform

and driving a marked police car.           Officer Nilges noticed a man and

a woman standing outside the Nissan which was parked at the

gasoline pump area.       Officer Nilges got out of his vehicle and



                                        -2-
Case: 4:11-cr-00127-JCH    Doc. #: 201     Filed: 07/27/11   Page: 3 of 16 PageID #:
                                         578


approached the Nissan.       As he neared, he could see that the people

were having trouble putting gasoline into the car because the pump

nozzle was not placed properly into the auto’s gas tank.                          He

offered to assist the persons in getting the nozzle into the car

and did so.        He then engaged in conversation with the woman

standing by the vehicle.        He learned that her name was LaPortia

Byrd.   Officer Nilges told Byrd that he had been dispatched to the

area to investigate a suspicious persons report.                   Byrd admitted

that the Nissan had been parked earlier on the bank lot, but denied

that it was there with another car.              Officer Nilges noticed that

the Nissan had Georgia license plates.               Byrd told Officer Nilges

that she and the male standing next to the car, Cuevas Ban’e Cost,

Jr., had driven to St. Louis from Georgia on the day previous and

that they were visiting a casino.           Byrd said that they were staying

at a hotel at the casino.       Officer Nilges asked Byrd who owned the

vehicle and she said that the vehicle had been rented and that the

rental paperwork was in the glove compartment of the vehicle.                  Byrd

gave Officer Nilges permission to go into the vehicle and to obtain

the paperwork from the vehicle.           Officer Nilges noticed that there

was a third person seated in the back seat of the vehicle.                 Officer

Nilges then asked that person to step out of the vehicle.                       The

person was determined to be Darrell L. Thomas.                     Officer Nilges

noticed   that    Thomas   appeared       very    nervous    and    was   sweating

profusely.       For officer safety reasons, Officer Nilges placed



                                         -3-
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11   Page: 4 of 16 PageID #:
                                        579


handcuffs on Thomas.

            By this time, two other police cars had arrived in the

area and parked on the BP lot.           Cuevas Ban’e Cost, Jr., was taken

to the vehicle occupied by Sergeant Wilson and was questioned by

Sergeant Wilson. Cost was handcuffed by Sergeant Wilson. LaPortia

Byrd was taken to another of the vehicles and questioned.                     Byrd

said that the person seated in the back seat of the Nissan was

known only to her by the name “Turk.”                She said that she knew

“Turk” in Georgia, but that he had not come to St. Louis with she

and Cost.     She said that they had encountered him the evening

before at the casino.       Thomas, however, had told Officer Nilges

that he had driven to St. Louis from Georgia with Byrd and Cost.

Officer Nilges asked Byrd why they had come to the Kirkwood area

from the casino and Byrd replied that they were just driving

around.

            Another   Kirkwood    police       officer,     Cynthia     Casserly,

located the Dodge Challenger parked on a lot between a Walgreens

store and a Global Foods Market.          She interviewed the occupants of

that vehicle and determined them to be Timothy Clark, Anthony Mack

and Benjamin Halter.

            After the officers completed their investigation, and

after it was determined that there were no outstanding warrants for

the arrest of any of the individuals, all of the persons were

allowed to go on their way.        No one was arrested and no items of



                                        -4-
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11    Page: 5 of 16 PageID #:
                                        580


physical evidence were seized from any of the persons or vehicles.

The entire encounter lasted about one hour.

            The only information obtained by police from Cuevas Ban’e

Cost, Jr., during this encounter was his name, address, date of

birth and social security number, and a statement that he had come

to St. Louis from Georgia to gamble at a local casino.                         (See

Govt.’s Exh. 1.)

            After the individuals were allowed to leave on March 17,

2011,    representatives    from   U.S.       Bank   in     Kirkwood,    Missouri,

notified federal law enforcement authorities that an individual

named Anthony Mack had earlier that day cashed a counterfeit check

drawn on the account of Northern Edge Hockey, LLC, in the amount of

$1,680.00 at the U.S. Bank in Kirkwood.1

            Beginning as early as October 2010, investigators from

municipalities in St. Charles County, Missouri; St. Louis County,

Missouri; and the City of St. Louis, Missouri, began to notify

investigators from the Postal Inspection Service and the United

States Secret Service of individuals traveling from the Atlanta,

Georgia, Metropolitan Area who were committing bank fraud using


     1
      Some of the information set out in these factual findings is
taken from the affidavit of United States Postal Inspector Curtis
A. Brassel filed in support of a criminal complaint issued on March
25, 2011. (See Docket Nos. 1 & 2.) Prosecution of this case was
originally began as a result of that complaint. Inspector Brassel
also testified at the hearing on defendant Cost’s Motion to
Suppress.   At the motion hearing, the undersigned notified the
parties that the information set out in Inspector Brassel’s
affidavit would be considered in making these findings of fact.

                                        -5-
Case: 4:11-cr-00127-JCH    Doc. #: 201     Filed: 07/27/11     Page: 6 of 16 PageID #:
                                         581


area homeless individuals.              According to their investigation,

individuals   traveled     to    the     St.   Louis     Metropolitan       Area    to

industrial complexes and stole business checks which had been left

in the businesses’ mailboxes. The individuals used the information

contained on the checks to produce counterfeit checks which would

be made payable to homeless individuals who had been recruited

locally.   The checks were generally drafted in amounts ranging as

high as $3,400.00.        The homeless individuals would be driven to

banks in the St. Louis Metropolitan Area in order to cash the

checks.    They would be paid $200 to $400 for each check cashed or

given alcohol or drugs in exchange for their participation.                        Law

enforcement officials identified Timothy Clark, a resident of

Atlanta, Georgia, as one of the participants in this scheme.

           On March 24, 2011, law enforcement officers learned that

Timothy Clark was staying at the Red Roof Inn located at the

intersection of United States Highway 44 and Hampton Avenue in St.

Louis, Missouri. After obtaining registration information from the

hotel, Inspector Brassel discovered that Clark was driving a red

Kia Sportage, Georgia license BKI 7344.              Once the Kia Sportage was

located,   investigators        began    to    conduct       surveillance    on    the

vehicle.   In addition, as the earlier investigation revealed that

individuals engaged in this fraudulent activity often worked in

tandem with another group of individuals in different vehicles,

investigators also sought to identify any other individuals or



                                         -6-
Case: 4:11-cr-00127-JCH    Doc. #: 201     Filed: 07/27/11    Page: 7 of 16 PageID #:
                                         582


vehicles who remained in close proximity of those in the Kia

Sportage.

            At the time the surveillance began, Clark was driving the

Kia in which a person, later found to be Jonathan Alexander, rode

as a passenger.      Clark, accompanied by Alexander, stopped the

vehicle at a McDonald’s restaurant near the intersection of Hampton

Avenue and Highway I-44, and a person later found to be Lorenzo

Long, a resident of St. Louis, entered the vehicle with them.                    The

vehicle   was   observed    traveling          to   a   Wal-Mart   SuperCenter     in

Maplewood, Missouri, and then to a Home Depot Store and AT&T store

in Brentwood, Missouri.       Alexander got out of the Kia and entered

the AT&T store.     While he was inside, a light blue Nissan Altima

with Tennessee plate number A25 37E, driven by a person later found

to be LaPortia Byrd, arrived.             Also in the Nissan Altima were a

person later learned to be Cuevas Ban’e Cost, Jr., and a one-year-

old infant. Cost entered the store and encountered Alexander while

Byrd remained in the vehicle.             Cost gave Alexander an envelope.

After the meeting between Cost and Alexander at the AT&T store,

Clark drove Long and Alexander in the Kia to a Fifth Third Bank

located in Brentwood, Missouri. After the meeting between Cost and

Alexander at the AT&T store, Cost re-entered the Nissan Altima

driven by Byrd (and which contained the one-year-old infant), and

Byrd drove to the Walgreens lot next to the above-mentioned Fifth

Third Bank.     At the Fifth-Third Bank, Long departed the vehicle



                                         -7-
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11     Page: 8 of 16 PageID #:
                                        583


(which contained Clark and Alexander) and entered the bank.                       Bank

representatives informed law enforcement officers that while inside

the bank, Long attempted to pass a check drawn on the account of

Midwest Service Group in the amount of $1,678.99 and payable to

Long.   The check contained Long’s name and address.

           After Long re-entered the Kia (which contained Clark and

Alexander),   the   vehicle    departed       from    the   parking     lot.       Law

enforcement   officials    then   stopped       the    Kia.       The   check     Long

attempted to pass was discovered within the vehicle, i.e., the

check drawn on the account of Midwest Service Group in the amount

of $1,678.99.

           The Nissan Altima driven by Byrd (in which Cost and the

infant one-year-old were passengers) was also stopped                        by    law

enforcement officers.         A search of the vehicle revealed five

counterfeit checks hidden in the gear shift panel between the

driver’s and front passenger’s seats.            The five counterfeit checks

were made payable to Long (all which contained his full name and

address) in the following amounts:            Wiegmann & Associates check in

the amount of $1,367.98; Rollie Johnson Inc. check in the amount of

$1,678.99; Ticata check in the amount of $2,272.62; John Volpi &

Company check in the amount of $1,678.99; and Olympiad Gymnastic

Training Center check in the amount of $2,235.82.

           At the time of the stop of the Kia automobile and the

Nissan automobile, law enforcement officials did not know the



                                        -8-
Case: 4:11-cr-00127-JCH    Doc. #: 201     Filed: 07/27/11     Page: 9 of 16 PageID #:
                                         584


identities of any of the individuals who had been stopped other

than Timothy Clark.       The identities of Jonathan Alexander, Lorenzo

Long, LaPortia Byrd, and Cuevas Ban’e Cost, Jr., were learned after

the stops were made.        Once the identities of these persons were

learned, Inspector Brassel recalled them as being persons named in

police reports as having been interviewed by the Kirkwood Police on

March 17, 2011.

           Following their arrests on March 24, 2011, LaPortia Byrd

and Cuevas Ban’e Cost, Jr., both made statements to law enforcement

officials.   Cost made statements regarding the checks found in the

Nissan automobile.        Cost also told the officers that he and Byrd

were staying at a Red Roof Inn hotel in St. Louis.                      He told the

officers that the room had been rented in the name of a homeless

person.   Byrd told the officers that they were staying at a hotel

in a room which she had rented in her name.                  She said she paid for

the room for two nights, March 24 and March 25, to depart on March

26.   Byrd described the area surrounding the hotel but could not

recall the name of the hotel.            Law enforcement officials were not

at that time able to identify or locate the hotel.                       No further

interview was conducted of Cost by law enforcement officers after

March 24, 2011.

           On March 29, 2011, Inspector Brassel learned that on that

date, employees of the Homestead Suites hotel in Maryland Heights,

Missouri, had entered a room at the hotel in order to clean the



                                         -9-
Case: 4:11-cr-00127-JCH    Doc. #: 201     Filed: 07/27/11      Page: 10 of 16 PageID #:
                                         585


room out.     The room had been rented by a person who presented

identification in the name of LaPortia Byrd.                   The room was rented

for two adults for the nights of March 24 and 25, 2011, to depart

on March 26, 2011.        (See Govt.’s Exh. 2.)              By March 29, 2011, the

occupant had not paid for or extended the registration.                          Hotel

employees then entered the room in order to clean the room so that

it could be rented to other persons.                   Any property found in the

room would be held for the previous occupant.                     When they entered

the room, the hotel employees found checks and mail in the names of

various businesses, as well as a laptop with a printer.                       The hotel

employees then contacted officers of the Maryland Heights Police

Department who then went to the hotel. Those officers photographed

the room and seized certain items found therein. (See Govt.’s Exh.

7.)   The seized items were turned over to Inspector Brassel later

that day.

                                  Discussion

            As his first ground to suppress evidence seized from him

and statements made by him, the defendant avers in his motion that

his contact with law enforcement officers on March 17, 2011, was a

“Terry” stop and that the stop was unlawful because the officers

had   no   reasonable     suspicion      that     he   was    engaged    in   criminal

activity at that time.

            Law enforcement officers may detain an individual for a

brief period of time if they have a reasonable suspicion that



                                         - 10 -
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11   Page: 11 of 16 PageID #:
                                        586


criminal activity is afoot.       Terry v. Ohio, 392 U.S. 1, 30 (1968).

In order to detain a person in such circumstances, an officer must

have “a particularized and objective basis” for suspecting criminal

activity.    United States v. Jacobsen, 391 F.3d 904, 906 (8th Cir.

2004).   “Whether the particular facts known to the officer amount

to an objective and particularized basis for a reasonable suspicion

of criminal activity is determined in light of the totality of the

circumstances.”     United States v. Maltais, 403 F.3d 550, 554 (8th

Cir. 2005), cert. denied, 546 U.S. 1177 (2006). “While ‘reasonable

suspicion’ must be more than an inchoate ‘hunch,’ the Fourth

Amendment   only   requires    that       police   articulate     some   minimal,

objective justification for an investigatory [detention].”                  United

States v. Fuse, 391 F.3d 924, 929 (8th Cir. 2004).                  In forming a

basis for suspicion, officers may “draw on their own experience and

specialized training to make inferences from and deductions about

the cumulative information available to them that ‘might well elude

an untrained person.’”        United States v. Ortiz-Monroy, 332 F.3d

525, 529 (8th Cir. 2003) (quoting United States v. Arvizu, 534 U.S.

266, 273 (2002)).         A number of factors, innocent in and of

themselves, may give rise to a reasonable suspicion in the eyes of

a trained law enforcement officer.               United States v. Barker, 437

F.3d 787, 790 (8th Cir. 2006).          During such a stop, police officers

may take such steps as are reasonably necessary to protect their

personal safety and maintain the status quo, United States v.



                                        - 11 -
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11    Page: 12 of 16 PageID #:
                                        587


Hensley, 469 U.S. 221, 235 (1985), including handcuffing of the

individuals, United States v. Marinez, 462 F.3d 903, 907 (8th Cir.

2006), cert. denied, 549 U.S. 1272 (2007).

           Here, the officers were investigating a citizen report of

individuals engaged in suspicious activity.                 The citizen described

his observation that two cars were parked on a nearby bank parking

lot; that persons were walking back and forth between the cars; and

that at least one of the persons had walked across the street to

his (the citizen’s) service station and used the restroom.                       The

citizen further reported that the two vehicles had left the bank

parking lot; that one vehicle had traveled to another service

station across the street from his service station; and that the

second vehicle had driven a short distance down the street and

parked on the parking lot of a drug store.

           The Supreme Court has noted that citizen reports are

generally considered a reliable basis upon which police may act.

Illinois v. Gates, 462 U.S. 213, 233-34 (1983).                  See also United

States v. Christmas, 222 F.3d 131 (4th Cir. 2000).                “Courts are not

required to sever the relationships that citizens and local police

forces have forged to protect their communities from crime. . . .

A community might quickly succumb to a sense of helplessness if

police were constitutionally prevented from responding to face-to-

face pleas of neighborhood residents for assistance.”                   Christmas,

222 F.3d at 145.



                                        - 12 -
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11   Page: 13 of 16 PageID #:
                                        588


           The Fourth Amendment does not require a
           policeman who lacks the precise level of
           information necessary for probable cause to
           shrug his shoulders and to allow a crime to
           occur or a criminal to escape.        On the
           contrary, Terry recognizes that it may be the
           essence of good police work to adopt an
           intermediate response.    A brief stop of a
           suspicious individual, in order to . . .
           maintain the status quo momentarily while
           obtaining more information, may be most
           reasonable in light of the facts known to the
           officer at the time.

Adams v. Williams, 407 U.S. 143, 145-46 (1972) (internal citations
omitted).


           The description given by the citizen as to the location

and movement of the vehicles, and the actions of the persons in the

vehicles provided reasonable suspicion to approach, detain and

interview the persons. Based on the totality of the circumstances,

the stop of the defendant on March 17, 2011, was a lawful “Terry”

stop supported by objectively reasonable suspicion.

           The defendant further claims that


           [t]he evidence obtained from the warrantless
           stop and interrogation [on March 17, 2011] led
           to numerous investigative leads, and provided
           probable cause for the secondary detention and
           interrogation of Mr. Cost [on March 24, 2011],
           in   which   he   allegedly   made   a   self-
           incriminatory statement. The government fails
           to show adequate justification for the
           original investigative detention from which
           the remaining investigative leads derived, and
           was therefore obtained in violation of Mr.
           Cost’s Fourth Amendment rights and should be
           suppressed by this court.

(Deft. Cost’s Mot. to Suppress, Docket No. 118 at p. 3.)


                                        - 13 -
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11    Page: 14 of 16 PageID #:
                                        589


            On the evidence adduced at the motion hearing, it appears

that the only information obtained from the defendant during the

March 17, 2011, encounter with the Kirkwood police officers was his

name, date of birth, social security number, address, and his

statement that he was in the St. Louis area to gamble at a casino.

The defendant in no way asserts or demonstrates how any of this

information, or leads derived therefrom, led to his arrest on March

24, 2011.    Indeed, evidence adduced at the hearing showed that at

the time of his arrest on March 24, 2011, the arresting officers

were unaware of the defendant’s identity and only following his

arrest and after his identity was learned was it recalled that he

was one of the subjects encountered by the Kirkwood police on March

17, 2011.    Thus, the claim by the defendant that his arrest and

subsequent    statement    on   March      24,     2011,    were    the   result    of

information obtained by the Kirkwood police on March 17, 2011, is

not supported by the evidence before the Court, and serves as no

basis for the suppression of evidence or statements obtained from

the defendant on March 24, 2011.

            The   defendant     claims      that    evidence    obtained     by    the

Maryland Heights Police Department in the search of the hotel room

at the Homestead Suites on March 29, 2011, should be suppressed

because the search was made without a warrant and without other

lawful authority.     This claim is without merit.                 Evidence adduced

at the hearing shows that the hotel room was rented by LaPortia



                                        - 14 -
Case: 4:11-cr-00127-JCH   Doc. #: 201     Filed: 07/27/11      Page: 15 of 16 PageID #:
                                        590


Byrd on March 24, 2011, for a two-night stay, March 24 and 25,

2006, and to depart on March 26, 2011.                  The room booking was not

further extended in any way.        In United States v. Perez-Guerrero,

334 F.3d 778 (8th Cir. 2003), the Eighth Circuit Court of Appeals

held that the defendant had no standing to challenge the search of

a rented hotel room after the rental period had expired “because

his   expectation    of   privacy   was          lost   when   the   rental    period

expired.”     Id. at 782.     The court also noted that this was true

even if the defendant was prevented from renewing the rental

because he was in police custody after being arrested.                      Id.    For

this same reason, the search of the hotel room here was lawful and

there is no basis upon which to suppress the evidence seized from

the hotel room.

            Lastly, the defendant seeks suppression of a statement

that an unknown person provided him with the checks found in the

hotel room.    He claims that this statement was obtained as a result

of the investigative stop and detention on March 17, 2011, and the

warrantless search of the hotel room on March 29, 2011.                        At the

motion hearing, evidence was introduced that the defendant made no

statement to law enforcement officials about the checks found in

the hotel room, and that the last interview of the defendant by law

enforcement officials took place several days before the hotel room

was searched and the checks were found.                 Thus, there appears to be

no basis in fact for this claim by the defendant.



                                        - 15 -
Case: 4:11-cr-00127-JCH       Doc. #: 201     Filed: 07/27/11   Page: 16 of 16 PageID #:
                                            591


                                     Conclusion

              For all of the foregoing reasons, defendant Cost’s Motion

to Suppress Statements and Evidence should be denied.

              Accordingly,

              IT IS HEREBY RECOMMENDED that defendant Cuevas Ban’e

Cost, Jr.’s Motion to Suppress Statements and Evidence (Docket No.

118) be denied.

              The parties are advised that any written objections to

this, Memorandum, Report and Recommendation shall be filed not

later than August 10, 2011.           Failure to timely file objections may

result   in    waiver    of    the   right       to   appeal    questions    of   fact.

Thompson v. Nix, 897 F.2d 356, 357 (8th Cir. 1990).




                                                 UNITED STATES MAGISTRATE JUDGE




Dated this      27th    day of July, 2011.




                                            - 16 -
